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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                           )
    In re:                                                                 )     Chapter 11
                                                                           )
    YELLOW CORPORATION, et al., 1                                          )     Case No. 23-11069 (CTG)
                                                                           )
                                Debtors.                                   )     (Jointly Administered)
                                                                           )
                                                                           )     Re: Docket No. 606
                                                                           )

               NOTICE OF RATE INCREASE OF GOODMANS LLP AS CANADIAN
              RESTRUCTURING COUNSEL TO THE DEBTORS EFFECTIVE AS OF
               AUGUST 6, 2023 PURSUANT TO SECTIONS 327(E), 328(A), 330 AND
                           363(B)(1) OF THE BANKRUPTCY CODE

             1.     Pursuant to the Order Authorizing Retention and Employment of Goodmans LLP

as Canadian Restructuring Counsel Effective as of August 6, 2023 Pursuant to Sections 327(e),

328(a), 330 and 363(b)(1) of the Bankruptcy Code [Docket No. 606] (the “Retention Order”),

Goodmans LLP (“Goodmans”), 2 as Canadian Restructuring Counsel to the Debtors, submits this

notice of rate increase.

             2.     As set forth in the Application, Goodmans adjusts its hourly rates annually. See

Application, ¶ 14. The Debtors have consented to such rate increases. See Application,

Declaration of Matthew A. Doheny, Chief Restructuring Officer of Yellow Corporation, in

Support of Debtors’ Application for Entry of an Order Authorizing Retention and Employment of

Goodmans as Canadian Bankruptcy Counsel Effective as of August 6, 2023 Pursuant to Sections

327(e), 328(a), 330, and 363(b)(1) of the Bankruptcy Code, ¶ 5.


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
      noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and
      the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.

2     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Retention
      Order.
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       3.      Paragraph 9 of the Retention Order provides that Goodmans shall provide ten

business days’ notice to the Debtors, the U.S. Trustee, and any official committee before any

increases in the rates set forth in the Application or the Engagement Letter are implemented and

shall file such notice with the Court.

       4.      In the ordinary course, Goodmans has adjusted the hourly rates charged by its

lawyers. Effective as of January 1, 2024, Goodmans’ hourly rates for lawyers that may be

involved in this matter will range from CDN$800 - CDN$1,565 for partners, and CDN$580 -

CDN$800 for associates.

Dated: December 14, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)            Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)            David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)               Whitney Fogelberg (admitted pro hac vice)
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                                               Possession
